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13
                           UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
15                              WESTERN DIVISION
16   ANDREW D. CARTER,                          ) No. 2:20-cv-05255-JC
                                                )
17         Plaintiff,                           )
                                                )
18                v.                            ) JUDGMENT OF REMAND
                                                )
19                                              )
     ANDREW SAUL,                               )
20                                              )
     Commissioner of Social Security,           )
21                                              )
           Defendant.                           )
22
23         The Court having approved the parties’ Stipulation to Voluntary Remand
24   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation
25   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26   //
27   //
28   //



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 1         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
 2   captioned action is remanded to the Commissioner of Social Security for further
 3   proceedings consistent with the Stipulation of Remand.
 4
     DATED:     April 28, 2021                         /s/
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                                          HONORABLE JACQUELINE CHOOLJIAN
 6                                        UNITED STATES MAGISTRATE JUDGE
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